                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )   No. 3-13-00041-2
v.                                              )   Judge Sharp
                                                )
DAVID ADOUNDETH                                 )
                                                )


                                           ORDER

        A hearing on a change of plea hearing in this matter is hereby scheduled for Tuesday,

November 19, 2013, at 10:30 a.m.

        IT IS SO ORDERED.



                                                    ________________________________
                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




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